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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

 KAREN L. HICKS,

             Plaintiff,

 -vs-                                                   Case No.:

 WELLS FARGO BANK, N.A., a foreign
 Corporation, ALDRIDGE CONNORS, LLP,
 A foreign Limited Liability Partnership,
 ASSURANT, INC., a foreign corporation, and
 AMERICAN SECURITY ESfSURANCE
 COMPANY, a foreign corporation.

             Defendants.
                                         I

                          COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, KAREN L. HICKS, sues the Defendants, WELLS FARGO BANK, N.A.,

ALDRIDGE CONNORS, LLP, ASSURANT, INC., and AMERICAN SECURITY INSURANCE

COMPANY, and alleges as follows:

                                  JURISDICTION AND VENUE

        1.       Jurisdiction of this Court arises under 28 U.S.C. § 1331 as this case presents a

federal question, and pursuant to 28 U.S.C. § 1367 for pendant state law claims.

        2.       Plaintiff brings this action to recover damages for Defendants' acts in violation of

the Telephone Consumer Protection Act of 1991,47 U.S.C. § 227, etseq., (hereafter "TCPA") the

Florida Consumer Collection Practices Act, sections 559.55, et seq., Florida Statutes (hereafter

"FCCPA"), the Real Estate Settlement Procedures Act, 12 U.S.C. § 2601, et seq., (hereafter

"RESPA"), the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c) and (d),

(hereafter "RICO"), and for common law Intentional Infliction of Emotional Distress and Slander

of Credit.
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       3.      The alleged violations described herein occurred in Pinellas County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the judicial

district in which a substantial part of the events or omissions giving rise to this action occurred.

                                             PARTIES

       4.      Plaintiff KAREN L. HICKS is a natural persons over the age of eighteen (18), who

resides in St. Petersburg, Pinellas County, Florida.

       5.      Plaintiff is a debtor and/or alleged debtor as that term is defined by section

559.55(2), Florida Statutes.

       6.      Plaintiff is the "called party" with respect to the calls placed to her cellular

telephone number, (727) 410-1616, as further described herein. See Soppet v. Enhanced Recovery

Co.. LLC . 679 F.3d 637, 643 (7th Cir. 2012); Breslow v. Wells Fargo Bank. N.A.. 755 F.3d 1265,

1266, 1267 Communications Reg. (P & F) 934, (11th Cir.2014).

       7.      Defendant WELLS FARGO BANK, N.A. (hereafter "WELLS FARGO") is a

foreign corporation with its primary place of business at 101 N. Phillips Avenue, Sioux Falls,

South Dakota 57104, doing business in Florida through its registered agent Corporation Service

Company, 1201 Hays Street, Tallahassee, Florida 32301. Upon information and belief, WELLS

FARGO services its mortgage loans through its division WELLS FARGO HOME MORTGAGE.

       8.      Defendant ASSURANT, INC. (hereafter "ASSURANT") is a Delaware

corporation with its principal office in New York, New York. ASSURANT participates in the

force-placed insurance market through its trade name, Assurant Specialty Property, and its

business strategy "is to pursue long term growth in lender placed homeowner's insurance. . . The

largest product line within Assurant Specialty Property is homeowners insurance consisting




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principally of fire and dwelling hazard insurance offered through [ASSURANT's] lender placed

program." '

       9.      Upon information and belief, ASSURANT owns the "Assurant Specialty Property"

trade name and allows its subsidiaries (including AMERICAN SECURITY INSURANCE

COMPANY) to operate their force-placed insurance business under that name.

        10.    Defendant AMERICAN SECURITY INSURANCE COMPANY (hereafter

"ASIC") is a Delaware corporation and an indirect subsidiary of ASSURANT, writing force-

placed insurance policies in all fifty states and the District of Columbia with its principal address

in Atlanta, Georgia. ASIC often operates under the trade name "Assurant Specialty Property."

American Security contracts with the lenders to act as a force-placed insurance vendor. Its duties

include, but are not limited to, tracking loans in their mortgage portfolio, handling all customer

service duties related to force-placed insurance, and securing force-placed insurance policies on

properties when a borrower's insurance has lapsed.

        11.    Upon information and belief, ASIC passes much of its profits from force-placed

insurance to its corporate parent, ASSURANT.

        12.    Defendant ALDRIDGE CONNORS, LLP, (hereafter "ALDRIDGE CONNORS")

is a Georgia Limited Liability Partnership with its primary place of business at Fifteen Piedmont

Center, 3575 Piedmont Rd., NE, Suite 500, Atlanta GA, 30305, doing business in Florida through

its registered agent and Florida Offices, at 1615 South Congress Road, Suite 200, Delray Beach

FL, 33445. According to its website, ALDRIDGE CONNORS "is a full service provider of legal

services to depository and non-depository financial institutions including, banks, mortgage

servicing concerns, institutional investors, private firms, and other commercial clients," focusing


^ See Assurant Form 10-K for the fiscal year ending December 31, 2011, at 5, available at
http://www.sec. gov/Archives/edgar/data/126723 8/000119312512075371 /d2575 68d 1 Ok.htm.

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on the following practice areas, in relevant part: "Mortgage Default Services," "Litigation

Services," "National Eviction Practice Group," and "Residential Real Estate Transaction

Services."

                                  FACTUAL ALLEGATIONS

        13.    At all times material hereto, Defendant WELLS FARGO sought to collect an

alleged debt from Plaintiff KAREN L. HICKS that arose from a transaction allegedly incurred for

personal, family or household purposes, and is therefore a "consumer debt" as that term is defined

by section 559.55(6), Florida Statutes.

       14.     At all times material. Defendant WELLS FARGO was the servicer of an alleged

mortgage loan debt owed to Defendant WELLS FARGO by Plaintiffs deceased mother, Donna

Hicks, which debt is the subject of the unlawful collection activity at issue herein.

       15.     On June 17, 2008, Plaintiffs mother. Donna Hicks, passed away.

       16.     On July 15, 2008, Plaintiff sent Defendant WELLS FARGO a photocopy of the

death certificate reflecting that Donna Hicks had passed away, and a photocopy of the Revocable

Inter Vivos Trust Agreement of Donna Hicks, reflecting that Plaintiff is the Successor Trustee as

well as the beneficiary for distribution on death. See Exhibit "A" hereto.

       17.     Thereafter, Plaintiff attempted to contact Defendant WELLS FARGO in an effort

to save her deceased mother's property. However, during each such attempt. Plaintiff was

informed by Defendant WELLS FARGO's representatives that it could not discuss the account

with Plaintiff, and Defendant's representatives could only speak with Donna Hicks, despite having

received a copy of the death certificate reflecting that Donna Hicks was deceased.

       18.     Rather than communicate with Plaintiff during her calls to WELLS FARGO

regarding the mortgage of her deceased mother, on or about July 15,2010, Defendant illegally and



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without Plaintiffs authorization, debited $1,615.92 from Plaintiffs personal checking account,

representing an installment payment purportedly owed pursuant to the subject debt, which Plaintiff

was at no time obligated to pay.

        19.    On or about July 26, 2010, Plaintiff sent Defendant WELLS FARGO a letter,

certified mail, return receipt requested, article number 7009 1410 0001 3206 5588, notifying

Defendant that it had illegally debited $1,615.92 from Plaintiffs personal checking account,

without authorization, and demanded that it be returned immediately. See Exhibit "B" hereto.

       20.     As described herein. Defendant WELLS FARGO employed business practices

resulting in intentional harassment and abuse of the Plaintiff and engaged in patterns of outrageous,

abusive and harassing conduct by and through its agents and representatives in an effort to collect

the above referenced debt from the Plaintiff.

       21.     Defendant WELLS FARGO has engaged in conduct in violation of the TCPA and

the FCCPA, and constituting intentional harassment and abuse of the Plaintiff, by and through its

agents and representatives, on numerous occasions, within the four (4) year period preceding the

filing of this action, initiating calls to Plaintiffs cellular telephone number, (727) 410-1616, to

Plaintiffs residential phone number, to Plaintiffs business phone number and to the Plaintiffs

facsimile number, several times per day, and on back to back days, with such frequency as can

reasonably be expected to harass, in an effort to collect the above described debt that Plaintiff does

not owe.

       22.     Moreover, Defendant WELLS FARGO intentionally harassed and abused the

Plaintiff on numerous occasions by sending Plaintiff threatening collection letters asserting false

and misleading information, and by reporting false information to the Credit Reporting Agencies




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with respect to Plaintiff, asserting that Plaintiff personally owes the subject debt and is delinquent

on the installment payments thereunder.

        23.     In 2011, Defendant WELLS FARGO, by and through its agents and employees,

began its campaign of telephone collection calls to the Plaintiff on her aforementioned cellular

telephone number in an attempt to collect the above described mortgage loan debt allegedly owed

by Plaintiffs deceased mother. Donna Hicks.

        24.     To date. Defendant WELLS FARGO has placed in excess of five hundred (500)

calls to Plaintiff on her aforementioned cellular telephone number in an effort to collect the subject

debt.

        25.     Additionally, to date. Defendant WELLS FARGO has placed in excess of one-

thousand (1,000) calls to Plaintiff on her residential, business and facsimile numbers in an effort

to collect the subject debt.

        26.     Plaintiff has advised Defendant WELLS FARGO on numerous occasions that she

is not Donna Hicks and is not responsible for the alleged subject debt, and instructed Defendant to

stop calling.

        27.     Notably, on several occasions. Defendant WELLS FARGO sent Plaintiff

correspondence acknowledging Plaintiffs requests that the collection calls cease. C f , Exhibit "C"

hereto. However, despite Plaintiff repeatedly requesting that Defendant WELLS FARGO stop

calling her regarding the subject debt, and WELLS FARGO's numerous acknowledgements of

these requests, the phone calls persisted. Defendant proceeded undeterred in its campaign of

intentional harassment and abuse of the Plaintiff in an effort to collect the debt, including but not

limited to:




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                a.        Calling Plaintiffs aforementioned cellular telephone number, residential

        telephone number, business telephone number, and facsimile number, several times per

        day and on back to back days through the current date (or such time as will be established

        after a thorough review of Defendant's records). In most instances. Defendant would place

        multiple calls to the above described telephone numbers within minutes of each other;

                b.        Calling Plaintiffs aforementioned cellular telephone number, residential

        telephone number, business telephone number, and facsimile number, from an automated

        telephone dialing system and leaving pre-recorded messages on Plaintiffs answering

        machine and voice mail boxes, identifying Plaintiff and stating that the message was left

        in "an attempt to collect a debf;

                c.        Calling Plaintiffs aforementioned cellular telephone number, residential

        telephone number, business telephone number, and facsimile number, and hanging up

        either prior to or as soon as Plaintiffs, members of Plaintiff s household, or the Plaintiffs

        answering machine or voice mail boxes answered the call;

               d.         Calling Plaintiff from numerous different telephone numbers that appeared

       on Plaintiffs caller ID as someone or some entity other than Defendant or with no

        identification;

        28.    During many of these calls, Defendant would leave messages on Plaintiffs

answering machine, which is open to be heard by anyone in hearing range, stating that the message

was left in an attempt to collect a debt. Plaintiff, and Plaintiffs minor children, were mortified

when their guests heard these messages, as the messages gave the impression that Plaintiff could

not pay her bills.




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        29.     The telephone calls at issue were placed by Defendant WELLS FARGO using an

"automated telephone dialing system" as specified by the TCP A, 47 U.S.C. § 227(a)(1), which has

the capacity to store or produce telephone numbers to be called, using a random or sequential

number generator, and to dial such numbers; and/or which has the capacity to dial numbers from

a list without human intervention (hereafter "ATDS" or "autodialer").

        30.    Defendant WELLS FARGO initiated each of the calls at issue to Plaintiffs

aforementioned cellular telephone numbers without the "prior express consenf of Plaintiff, as

specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

        31.    Additionally, none of the telephone calls at issue were placed by Defendant

WELLS FARGO to Plaintiffs aforementioned cellular telephone number for "emergency

purposes" as specified by the TCPA, 47 U.S.C. §227 (b)(1)(A).

       32.     Defendant WELLS FARGO willfully and/or knowingly violated the TCPA with

respect to Plaintiff

       33.     Defendant WELLS FARGO has a corporate policy of using an automatic telephone

dialing system or a pre-recorded or artificial voice message, just as it did when calling the

Plaintiffs aforementioned cellular telephone number, as described herein.

       34.     Despite actual knowledge of its wrongdoing, Defendant WELLS FARGO

continued its campaign of abuse.

        3 5.    Defendant WELLS FARGO's corporate policy provided no means for the Plaintiff

to have her aforementioned cellular telephone number removed from the call list.

       36.     Defendant WELLS FARGO has a corporate policy to harass and abuse individuals

like the Plaintiff despite actual knowledge that the called parties did not provide prior express




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consent to receive the calls, or had revoked such prior express consent verbally, in writing, or

through retention of legal counsel.

          37.   Moreover, Defendant WELLS FARGO has initiated foreclosure proceedings, by

and though its agent. Defendant ALDRIDGE CONNORS, in a case styled Wells Fargo Bank, N.A.

V. Karen Hicks, et al, Case No.: 13-CI-002225-CI, currently pending in the Sixth Judicial Circuit

in and for Pinellas County, Florida, wherein Plaintiff is named as a defendant, and Defendant

WELLS FARGO, by and through Defendant ALDRIDGE CONNORS, seeks to collect a

deficiency judgment as against Plaintiff, individually, despite the fact that Plaintiff does not owe

Defendant WELLS FARGO the subject debt (hereafter "Foreclosure Action").

          38.   On or about January 2, 2015, Plaintiff filed an Emergency Motion to Compel

WELLS FARGO to provide a payoff figure for the subject debt in the above described Foreclosure

Action. See Exhibit "D" hereto.

          39.   On or about January 5, 2015, WELLS FARGO's agent. Defendant ALDRIDGE

CONNORS, sent Plaintiff a "payoff letter, reflecting that the amount owed as of that date to pay

off the subject mortgage was $203,797.17, consisting, in part, of a principal balance of 73,246.76,

interest in the amount of $19,888.06, and an escrow balance of $103,791.07. See Exhibit "E"

hereto.

          40.   On or about January 12, 2015, Plaintiff filed a Motion for Detailed Accounting of

Payoff Figure and Motion for Hearing on Attorney's Fees in the above described Foreclosure

Action. See Exhibit "F" hereto.

          41.   On or about January 14, 2015, Defendant ALDRIDGE CONNORS provided a

breakdown of the escrow balance, reflecting that the majority of the $103,791.07 escrow balance




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consisted of forced-placed insurance policies, which were placed by WELLS FARGO with its

affiliates, Defendants ASSURANT and ASIC.

       42.     As set forth above, at no time was Plaintiff legally obligated to pay the subject debt

to Defendant WELLS FARGO.

       43.     At all times material hereto, Defendant ALDRIDGE CONNORS was aware that

Plaintiff did not owe the subject debt to Defendant WELLS FARGO, but nevertheless, proceeded

to initiate foreclosure proceedings against Plaintiff to recover a deficiency judgment as against

Plaintiff personally, and send Plaintiff collection letters reflecting amounts that the Plaintiff is not

legally obligated to pay, and including an escrow balance consisting of excessively priced force-

placed insurance policies, as described herein.

       44.     Defendant WELLS FARGO followed its corporate poHcies when attempting to

communicate with the Plaintiff in connection with the debt at issue.

       45.     Defendant WELLS FARGO has been the recipient of numerous complaints from

debtors, alleged debtors, and non-debtors across the country, similar to those alleged in this action

by Plaintiff

       46.     Defendant WELLS FARGO is, or should be, in possession and/or control of call

logs, account notes, autodialer reports and/or other records that detail the exact number of calls

made to Plaintiffs cellular telephone number over the relevant time period.

       47.     As a direct and proximate result of the acts or omissions of WELLS FARGO and

ALDRIDGE CONNORS, as set forth herein. Plaintiff has suffered compensatory, statutory and

actual damages in the form of emotional distress, anxiety, fear, worry, embarrassment and mental

suffering, pain, anguish, and loss of capacity for the enjoyment of life.




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       48.     Plaintiffs statutory and actual damages in the form of emotional distress, anxiety,

fear, worry, embarrassment and mental suffering, pain, anguish, and loss of capacity for the

enjoyment of life pursuant to section 559.77, Florida Statutes, have continued and are continuing

as of the filing of this complaint.

       49.     All conditions precedent to the filing of this action have occurred or have otherwise

been waived.

                FORCE PLACED INSURANCE SPECIFIC ALLEGATIONS

        50.    Defendants ASSURANT and ASIC (hereafter collectively "The Assurant

Defendants") have exclusive arrangements with Defendant WELLS FARGO to monitor its

mortgage portfolio and provide force-placed insurance. In addition to the subsidized mortgage

services it receives from the Assurant Defendants, WELLS FARGO and/or its affiliates are kicked

back a percentage of the force-placed premium or are paid direct payments for the exclusive

relationship disguised as qualified expense reimbursements. WELLS FARGO receives additional

compensation through captive reinsurance arrangements.

       51.     The forced-placed insurance scheme works as follows: WELLS FARGO

purchases master or "umbrella" insurance policies that cover its entire portfolio of mortgage

loans. In exchange, the Assurant Defendants are given the exclusive right to force insurance on

property securing a loan within the portfolio when the borrower's insurance lapses or the lender

determines the borrower's existing insurance is inadequate. ASSURANT and its affiliates

monitor WELLS FARGO's entire loan portfolio for lapses in borrowers' insurance coverage.

Once a lapse is identified, an ASSURANT affiliate, (in this case, ASIC), sends notice to the

borrower that insurance will be "purchased" and force-placed if the voluntary coverage is not




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continued. If a lapse continues, the insurer notifies the borrower that insurance is being force-

placed at his or her expense.

           52.   No individualized underwriting ever takes place for the force-placed coverage.

Insurance is automatically placed on the property and the premium charged to the borrower. In

many instances, the insurance lapse is not discovered for months or even years after the fact.

Despite the absence of any claim or damage to the property during the period of lapse,

retroactive coverage is placed on the property and the borrower is charged for the "cost" of the

past premiums.

           53.   Once coverage is forced on the property, WELLS FARGO pays the insurer for the

premium and then charges the borrower for the payment, which is either deducted from the

borrower's mortgage escrow account or added to the balance of the borrower's loan. The

borrower's escrow account is depleted irrespective of whether other escrow charges, such as

property taxes, are also due and owing.

           54.   After WELLS FARGO pays the premiums to ASSURANT and ASIC, the

Assurant Defendants kick back a set percentage of that amount to WELLS FARGO or its

affiliates as a "commission." Upon information and belief, WELLS FARGO's affiliates share

a percentage of that payment with WELLS FARGO, sometimes in the form of "soft dollar"

credits.

           55.   Further, WELLS FARGO has an arrangement with the Assurant Defendants that

"qualified expense reimbursement" payments were to be made to WELLS FARGO and/or an

affiliate of WELLS FARGO. These "expense reimbursements" are not legitimate reimbursements

for actual costs and were simply another form of a kickback to WELLS FARGO for the exclusive

arrangement to force-place insurance. These affiliates of WELLS FARGO are shell entities used



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exclusively for receipt of the illegitimate reimbursements and do not perform any bona fide

services for the payments that they received.

       56.     The money paid back to WELLS FARGO and its affiUates is not given in

exchange for any services provided by them; it is simply grease paid to keep the force-placed

machine moving. In an attempt to mask the kickbacks as legitimate, ASSURANT or ASIC

will often disclose to the borrower that WELLS FARGO or its affiliates may earn

commissions or compensation as a result of the forced placement of new coverage. In reality,

however, no work is ever done by WELLS FARGO or the affiliates, to procure insurance

for that particular borrower because the coverage comes through the master or umbrella

policy already in place due to the exclusive relationship in place. As a result, no commission

or compensation is "earned" and, in addition, neither WELLS FARGO nor its affiliates incur

any costs in relation to force-placing insurance on any particular borrower and therefore no

"expense reimbursement" is due.

       57.     Under this highly profitable force-placed insurance scheme, WELLS FARGO

is incentivized to purchase and force place insurance policies with artificially inflated

premiums on a borrowers' properties because the higher the cost of the insurance policy, the

higher the kickback.

       58.     ASSURANT and WELLS FARGO also enter into agreements for ASIC to

provide servicing activities on WELLS FARGO's entire loan portfoHo at below cost. The

servicing costs are added into the force-placed premiums which are then passed on to the

borrower. The insurers are able to provide these services at below cost because of the

enormous profits they make from the hyper- inflated premiums charged for force-placed

insurance. However, because insurance-lapsed mortgaged property comprises only 1-2% of

the lenders' total mortgage portfolio, the borrowers who pay these premiums unfairly bear the

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entire cost to service the entire loan portfolio. These charges, passed on to Plaintiff are not

properly chargeable to the borrower because they are expenses associated with the servicing

of all the loans and the loan servicers are already compensated for these activities.

       59.     The small percentage of borrowers who are charged for force-placed

insurance shoulder the costs of monitoring WELLS FARGO's entire loan portfolio,

effectively resulting in a kickback.

       60.     In addition, upon information and belief, the Assurant Defendants enter into

essentially riskless "captive reinsurance arrangements" with WELLS FARGO's affiliates to

"reinsure" the property insurance force-placed on borrowers.

       61.     WELLS FARGO's reinsurance program, like those of other lenders, is simply

a way to funnel profits, in the form of ceded premiums, to WELLS FARGO at borrowers'

expense. While reinsurance can, and often does, serve a legitimate purpose, here it does not.

On information and belief, WELLS FARGO and/or its affiliates enter into reinsurance

agreements with the Assurant Defendants that provide that the insurer will return to WELLS

FARGO significant percentages of the premiums charged borrowers by way of ceded

reinsurance premiums to WELLS FARGO affiliates or subsidiaries. The ceded premiums

are nothing more than a kickback to WELLS FARGO and a method for Defendants to

profit from the forced placement of new coverage. Indeed, while WELLS FARGO and/or its

affiliates purportedly provided reinsurance, they did not assume any real risk.

       62.     WELLS FARGO also overcharges borrowers by disregarding the Standard

Mortgage Clause or the Lender's Loss Payable Endorsement ("LLPE") in its standard form

mortgage agreement. Either of these clauses typically protects the lender for a period of at

least ten days after the termination of the homeowner's voluntary insurance policy. Force-



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placed policies, however, take effect on the date of termination, and "double-cover" the

property unnecessarily during the period covered by the LLPE or Standard Mortgage Clause.

This means the borrower is charged for coverage for which the lender or servicer has no

exposure.

       63.     The amounts charged borrowers are also inflated by the interest that accrues on

the amounts owed for force-placed coverage; when WELLS FARGO adds the cost of the high-

priced premium to a homeowner's mortgage balance, it thereby increases the interest paid over

the life of the loan by the homeowner to the lender.

       64.     The actions and practices described above are unconscionable and undertaken

in bad faith with the sole objective to maximize profits. Borrowers who for whatever reason

have stopped paying for insurance or are under-insured on mortgaged property are charged

hyper-inflated and illegitimate noncompetitive amounts for force-placed insurance. These

charges are inflated to include undisclosed kickbacks to the Defendants or their affiliates (who,

as described above, perform little to no functions related to the force-placement of the

individual policies), as well as the cost of captive reinsurance arrangements, and discounted

administrative services.

       65.     Borrowers have no say in the selection of the force-placed insurance carrier or

the terms of the force-placed insurance policies. Force-placed policies are commercial

insurance policies and their terms are determined by the lender or servicer ~ WELLS FARGO,

and the insurer ~ the Assurant Defendants.

       66.     Plaintiff does not challenge WELLS FARGO's right to force place insurance

in the first instance. Plaintiff challenges Defendants' manipulation of the force-placed

insurance market with an eye toward artificially inflating premiums and placing unnecessary



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coverage, which WELLS FARGO purchases from the Assurant Defendants and then chooses

to pass on to the borrower. Lenders, like WELLS FARGO, are financially motivated to utilize

the insurer, like the Assurant Defendants, that offers it the best financial benefit in the terms

of "commissions," "expense reimbursements," discounted tracking services, or ceded

reinsurance premiums. This action is brought to put an end to Defendants' exclusive, collusive,

and uncompetitive arrangements, and to recover for Plaintiff the excess amounts charged to

them beyond the true cost of insurance coverage.

                                              COUNTI

                       (Violation of the TCPA against WELLS FARGO)

        67.    Plaintiffs re-allege and incorporate by reference the allegations of Paragraphs (1)

through (49), as if fully set forth herein.

       68.     None of the calls at issue were placed by Defendant WELLS FARGO to Plaintiff s

aforementioned cellular telephone number with the "prior express consent" of Plaintiff, as

specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

       69.     Furthermore, Plaintiff revoked any "prior express consent" Defendant WELLS

FARGO may have mistakenly believed it had by verbally requesting that Defendant stop placing

calls to her aforementioned cellular telephone number regarding the debt at issue on numerous

occasions.

       70.     Furthermore, none of the calls at issue were placed by Defendant WELLS FARGO

to Plaintiffs aforementioned cellular telephone number for "emergency purposes" as specified by

the TCPA, 47 U.S.C. §227 (b)(1)(A).

       71.     Defendant WELLS FARGO willfully and/or knowingly violated the TCPA with

respect to Plaintiff by repeatedly placing calls to Plaintiffs cellular telephone number using an



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ATDS and/or artificial or prerecorded voice without Plaintiffs prior express consent, invitation or

permission, as specifically prohibited by the TCP A, 47 U.S.C. §227(b)(l)(A)(iii).

        72.     The TCPA provides Plaintiff with a private right of action against Defendant

WELLS FARGO for its violations of the TCPA, as described herein, pursuant to 47 U.S.C.A. §

227(b)(3), and permits both injunctive relief in addition to statutory damages.

        WHEREFORE the Plaintiff, KAREN L. HICKS, respectfully demands judgment against

Defendant WELLS FARGO for statutory damages, actual damages, punitive damages, an

injunction from similar conduct in the future, costs, interest, and any other such relief the court

may deem just and proper.

                                              COUNT II

                      (Violation of the FCCPA against WELLS FARGO)

        73.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (49), as if fully set forth herein.

        74.    At all times material to this action Defendant was and is subject to and must abide

by the law of Florida, including section 559.72, Florida Statutes.

        15.    Defendant WELLS FARGO engaged in an act or omission prohibited under section

559.72(5), Florida Statutes, by disclosing to a person other than the Plaintiffs or their family

information affecting the Plaintiffs' reputation, whether or not for credit worthiness, with

knowledge or reason to know that the other person does not have a legitimate business need for

the information or that the information is false

       76.     Defendant WELLS FARGO engaged in an act or omission prohibited under section

559.72(7), Florida Statutes, by willfully communicating with Plaintiff or any member of Plaintiff s

family with such frequency as can reasonably be expected to harass the Plaintiff.



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        77.      Defendant WELLS FARGO engaged in an act or omission prohibited under section

559.72(7), Florida Statutes, by willfully engaging in other conduct which can reasonably be

expected to abuse or harass the Plaintiff.

        78.      Defendant WELLS FARGO engaged in an act or omission prohibited under section

559.72(9), Florida Statutes, by attempting to enforce a debt when such person knows that the debt

is not legitimate, or asserting the existence of some other legal right when such person knows that

the right does not exist.

        79.      Defendant WELLS FARGO's actions have directly and proximately resulted in

Plaintiffs prior and continuing sustaining of damages as described by section 559.77, Florida

Statutes, including, but not limited to: statutory damages, actual damages in the form of emotional

pain and suffering, fear, worry, embarrassment, humiliation and loss of the capacity for the

enjoyment of life; and attorney fees, interest and costs.

        WHEREFORE Plaintiff, KAREN L. HICKS, respectfully demands judgment against

Defendant WELLS FARGO for statutory damages, actual damages, punitive damages, an

injunction from similar conduct in the future, attorney fees, costs, interest and such other relief as

this Court deems just and proper.

                                              COUNT III
              (Intentional Infliction of Emotional Distress against WELLS FARGO)

        80.      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (49), as if fully set forth herein.

        81.      The outrageous conduct of Defendant WELLS FARGO individually, and through

its employees, agents, representatives and collectors, as described herein, deliberately, recklessly

and/or intentionally inflicted emotional distress on the Plaintiff.



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        82.      The outrageous conduct of Defendant WELLS FARGO, as described herein, was

directed at Plaintiff by and through Defendant's employees, agents, apparent agents or other

persons acting to benefit and further the interests of Defendant, and acting in the course and scope

of their employment or agency with Defendant.

        83.      As a direct and proximate result of the outrageous conduct of Defendant WELLS

FARGO as described herein. Plaintiff sustained mental pain and suffering, emotional distress,

mental anguish, inconvenience, and loss of capacity for the enjoyment of life.

        WHEREFORE, Plaintiff KAREN L. HICKS respectfully demands a trial by jury of all

issues so triable and judgment against Defendant WELLS FARGO for compensatory damages,

punitive damages, costs, interest and such other relief as this Court deems just and proper.

                                              COUNT IV
                           (Slander of Credit against WELLS FARGO)

        84.      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (48), as if fully set forth herein.

        85.      Defendant WELLS FARGO reported the debt at issue to the Consumer Reporting

Agencies as being delinquent with respect to the subject mortgage debt, resulting in the same being

reflected on Plaintiffs' credit reports.

        86.      The above described reports to the Consumer Reporting Agencies by Defendant

WELLS FARGO were false, as described herein, because Plaintiff is not legally obligated to pay

the subject debt to Defendant WELLS FARGO.

        87.      In making the above reports to the Consumer Reporting Agencies, Defendant

WELLS FARGO knew that they were false or exhibited a reckless and/or knowing disregard for

their truth or falsity.



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        88.     As a direct result of the above described false credit reports by Defendant WELLS

FARGO, Plaintiffs credit scores and credit worthiness has been impaired.

        89.     As a direct and proximate result of the above described false credit reports by

Defendant WELLS FARGO, Plaintiff has suffered losses and damages.

        WHEREFORE, Plaintiffs respectfully demand judgment against Defendant WELLS

FARGO for compensatory damages, punitive damages, costs, interest and such other relief as this

Court deems just and proper.

                                              COUNT V

                  (Violation of the FCCPA against ALDRIDGE CONNORS)

        90.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (48), as if fully set forth herein.

        91.     At all times material to this action Defendant ALDRIDGE CONNORS was and is

subject to and must abide by the law of Florida, including section 559.72, Florida Statutes.

        92.     Defendant ALDRIDGE CONNORS engaged in an act or omission prohibited under

section 559.72(7), Florida Statutes, by willfully engaging in conduct which can reasonably be

expected to abuse or harass the Plaintiff

       93.      Defendant ALDRIDGE CONNORS engaged in an act or omission prohibited under

section 559.72(9), Florida Statutes, by attempting to enforce a debt when such person knows that

the debt is not legitimate, or asserting the existence of some other legal right when such person

knows that the right does not exist.

       94.     Defendant ALDRIDGE CONNORS' actions have directly and proximately

resulted in Plaintiffs prior and continuing sustaining of damages as described by section 559.77,

Florida Statutes, including, but not limited to: statutory damages, actual damages in the form of



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emotional pain and suffering, fear, worry, embarrassment, humiliation and loss of the capacity for

the enjoyment of life; and attorney fees, interest and costs.

       WHEREFORE Plaintiff, KAREN L. HICKS, respectfully demands judgment against

Defendant ALDRIDGE CONNORS for statutory damages, actual damages, punitive damages, an

injunction from similar conduct in the future, attorney fees, costs, interest and such other relief as

this Court deems just and proper.

                                              COUNT VI

             (Violation of the Racketeer Influenced and Corrupt Organizations
         Act, 18 U.S.C. § 1962(c), against WELLS FARGO, ASSURANT and ASIC)

       95.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (65), as if fully set forth herein.

       96.      At all relevant times. Defendants were employed by and associated with an illegal

enterprise, and conducted and participated in that enterprise's affairs, through a pattern of

racketeering activity consisting of numerous and repeated uses of the interstate mails and wire

communications to execute a scheme to defraud, all in violation of the Racketeer Influenced and

Corrupt Organizations Act (hereafter "RICO"), 18 U.S.C. § 1962(c).

       97.     The RICO enterprise which engaged in and the activities of which affected

interstate and foreign commerce, was comprised of an association in fact of entities and

individuals that included WELLS FARGO, ASSURANT, and ASIC.

       98.     The members of the RICO enterprise had a common purpose: to increase and

maximize their revenues by forcing Plaintiff to pay unreasonably high charges for force-placed

insurance through a scheme that inflated the premiums to cover kickbacks and expenses associated

with monitoring WELLS FARGO's entire loan portfolio. Defendants shared the bounty of their

enterprise, i.e., by sharing the premiums generated by the joint scheme.


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       99.     The RICO enterprise functioned over a period of years as a continuing unit and

had a maintained and ascertainable structure separate and distinct jfrom the pattern of

racketeering activity.

        100.   Defendants WELLS FARGO, ASSURANT, and ASIC conducted and participated

in the affairs of this RICO enterprise through a pattern of racketeering activity that lasted more

than one year, at a minimum, and that consisted of numerous and repeated violations of federal

mail and wire fraud statutes, which prohibit the use of any interstate or foreign wire or mail facility

for the purpose of executing a scheme to defraud, in violation of 18 U.S.C. §§ 1341 and 1343.

        101.   As part of and in furtherance of the scheme to defraud, Defendants made

numerous material omissions and misrepresentations to Plaintiff with the intent to defraud and

deceive Plaintiff. For example, ASSURANT and ASIC, with the approval of WELLS FARGO,

sent form letters to Plaintiff on WELLS FARGO letterhead, stating that WELLS FARGO would

purchase or renew force-placed coverage if voluntary insurance was not secured by a certain date.

These Defendants represented in the letters that they would charge Plaintiff for the "cost of the

insurance." In making these statements. Defendants knowingly and intentionally fostered the

mistaken impression that the force-placed insurance premiums that Plaintiff was charged

represented the cost of the policies when in fact such premiums cost more because they were

inflated to include kickbacks, unmerited "expense reimbursements," reinsurance profits,

discounts, or subsidized costs returned to WELLS FARGO or its affiliates. Defendants had a duty

to correct this mistaken impression. The omission was material, as it gave Defendants a colorable

reason to charge Plaintiff unreasonably high charges for the force-placed insurance.

       102.    For the purpose of executing the scheme to defraud, Defendants sent, mailed and

transmitted, or caused to be sent, mailed or transmitted, in interstate or foreign commerce



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numerous materials, including but not limited to the notices and letters described above

informing Plaintiff that they could charge Plaintiff unreasonably high force-placed insurance

premiums. Defendants also transferred sums among themselves, including but not limited to

various forms of kickbacks, in furtherance of their scheme to defraud Plaintiff, in violation of

the wire fraud statutes.

        103.    By reason and as a result of Defendants' conduct and participation in the

racketeering activity alleged herein. Defendants have caused damages to Plaintiff in the form of

unreasonably high charges for force-placed insurance premiums, which Defendant WELLS

FARGO has sought to collect from Plaintiff individually by virtue of the above described

Foreclosure Proceeding.

       WHEREFORE, Plaintiff KAREN L. HICKS respectfully demands judgment against

Defendants WELLS FARGO, ASSURANT and ASIC for compensatory and treble damages, and

attorneys' fees and costs, pursuant to 18 U.S.C. § 1964(c), plus interest and such other relief as this

Court deems just and proper.

                                              COUNT VII

              (Violation of the Racketeer Influenced and Corrupt Organizations
         Act, 18 U.S.C. § 1962(d) Against WELLS FARGO, ASSURANT and ASIC)

       104.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (65), as if fully set forth herein.

        105.    At all relevant times. Defendants were associated with the enterprise and agreed

and conspired to violate 18 U.S.C. § 1962(d). Defendants agreed to conduct and participate,

directly and indirectly, in the conduct and affairs of the enterprise through a pattern of racketeering

activity, in violation of 18 U.S.C. § 1962(d).




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        106.    Defendants agreed that ASIC and ASSURANT would be WELLS FARGO's

exclusive force-placed insurance providers and would extract the unreasonably high premiums

from WELLS FARGO's customers. Defendants also agreed that the Assurant Defendants would

pay kickbacks to WELLS FARGO or its affiliates.

        107.    WELLS FARGO affiliates pass much of these profits from this scheme to WELLS

FARGO.

        108.    ASIC passes much of its profits from this scheme to ASSURANT.

        109.    Defendants committed and caused to be committed a series of overt acts in

furtherance of the conspiracy and to affect the objects thereof, including but not limited to the acts

set forth above.

        110.    As a result of Defendants' violations of 18 U.S.C. § 1962(d), Plaintiff suffered

damages in the form of unreasonably high force-placed insurance premiums.

       WHEREFORE, Plaintiff KAREN L. HICKS respectfully demands judgment against

Defendants WELLS FARGO, ASSURANT and ASIC for compensatory and treble damages, and

attorneys' fees and costs, pursuant to 18 U.S.C. § 1964(d), plus interest and such other relief as

this Court deems just and proper.

                                              COUNT VIII

        (Violation of RESPA, 12 U.S.C. § 2601, et seq, against VS^ELLS FARGO)

        111.   Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (65), as if fully set forth herein.

        112.    The subject mortgage loan qualifies as a "federally related mortgage loan" under §

2602(1 )(B)(i) because the mortgage loan was made in whole or in part by a lender, the deposits or




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accounts of which are insured by any agency of the Federal Government, or were made in whole

or in part by a lender which is regulated by any agency of the Federal Government.

        113.   This claim for relief arises under 12 U.S.C. § 2605 which authorizes, among other

things, actual damages in an individual action.

        114.   This section of RESPA requires that all charges related to force-placed insurance,

apart from charges subject to state regulation as the business of insurance, imposed on the borrower

by or through the servicer shall be bona fide and reasonable.

       115.    WELLS FARGO is a mortgage servicer or lender to whom the requirements of

section 2605 of RESPA apply.

       116.    Wells Fargo has violated § 2605 of RESPA by charging premiums that are unfairly

and egregiously costly. This excessively-priced, force-placed insurance cannot be considered bona

fide and reasonable because Wells Fargo exercised its discretion in choosing an insurance policy

capriciously, in bad faith, and in contravention of the parties' reasonable expectations by

purposefully selecting an exorbitantly-priced policy and by giving and receiving kickbacks for the

procurement of these exorbitantly-priced, force-placed insurance policies. It has negotiated

exclusive terms with the Assurant Defendants whereby it receives kickbacks tied to the cost of the

insurance premiums. This incentive drives WELLS FARGO to purchase the highest priced forced

placed insurance policy that it can, and to often include coverage that is unnecessary.

       117.    The force-placed insurance purchased by WELLS FARGO and passed on to

Plaintiff cannot be considered bona fide and reasonable as it can cost up to ten times the amount

of standard insurance that a borrower was previously paying or could obtain on the open market.

       118.    Furthermore, the high-priced premiums charged to Plaintiff cannot be considered

reasonable because, despite WELLS FARGO receiving a kickback or commission on each policy



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it purchases, it does not pass that savings amount on to Plaintiff. Instead, it still charges the

borrowers the full unwarranted and unreasonable amount for the exorbitantly-priced and/or

backdated force-placed insurance.

       119.    The foregoing actions constitute a general business practice and pattern of WELLS

FARGO.

       WHEREFORE, Plaintiff KAREN L. HICKS respectfully demands judgment against

Defendant WELLS FARGO, for actual damages in the form of unreasonable force-placed

insurance premiums in violation of Section 2605 of RESPA, together with additional damages the

court may allow as a result of the pattern of purchasing high-priced and unnecessary force-placed

insurance in order to collect a large kickback or commission, in addition to attorneys' fees and

costs, interest, and such other relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury of all issues so triable.

                                                  Respectfully submitted,

                                                  /s/David P. Mitchell
                                                  David P. Mitchell, Esq.
                                                  Florida Bar No. 067249
                                                  MANEY & GORDON, P.A.
                                                   101 East Kermedy Blvd., Suite 3170
                                                  Tampa, Florida 33602
                                                  Telephone: (813) 221-1366
                                                  Fax: (813)223-5920
                                                  David@MitchellConsumerLaw.com
                                                  Counsel for Plaintiff




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                   THE
             I HMD                        HOSPITAL
                      "The Place For Severely Damaged Hair"




         I                    July 15, 2008




                              T o W h o m It M a y C o n c e r n


      I
                              Wells Fargo Home Mortgage

                                       L o a n Number:           0035539972
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                              P l e a s e b e a d v i s e d t h a t M r s . D o n n a H , H i c k s is d e c e a s e d .
                              E n c l o s e d p l e a s e find h e r death-             certificate
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                              P l e a s e b e f r e e to c o n t a c t m e at t h e p h o n e n u m b e r l i s t e d
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                              T h a n k you. f o r y o u r k i n d c o o p e r a t i o n a n d a s s i s t a n c e i n t h e
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                              Very truly yours.




                              ^aren L . H i c k s
                             T r u s t e e o f t h e Donna, H , H i c . k s T r u s t
                             A G r e e m e n t Executed: o n D e c e m b e r 3 0 , 2 0 0 2




7038 Central Avenue
St. Petersburg
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I
Phone 727-345-55412^,.^

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                                                                                 STATE OF FLORIDA
 Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 28 of 48 PageID 28

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               REVOCABLE INTER VIVOS TRUST AGREEMENT

                                           OF

                                  DONNA H. HICKS

        THIS REVOCABLE TRUST AGREEMENT is hereby made by and between

 Donna H. Hicks, a resident of. and domiciled in Pinellas County, Florida hereinafter

 referred to as "Grantor" this   day of December, 2002.

                                  WITNESSETH:

       That the Grantor has this date delivered to the Trustee the property described In

Schedule "A" attached hereto and made a part hereof by referenced of this Revocable

Trust Agreement. The Trustee hereinafter agrees to hold, administer and distribute all

of the aforesaid estate, together with all additions and all reinvestment thereof in

accordance with the following terms, provisions and conditions subject to the

reservations herein contained.

ARTICLE 1
Trust Estate

       The Trust estate shall be comprised of the assets shown on Schedule "A"

attached hereto and made a part hereof and any and all other assets delivered by the

Grantor to the Trustee, together with any assets received by the Trustee pursuant to the

terms hereof from any other person or from the estate of the Grantor or under the Will of

any other person and together with all accruals and Income resulting from any trust

properties. For the purpose of convenience, all such assets held or received at any

time by the Trustee shall be referred to as Trust Assets.
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 ARTICLE 4
 Payment of Debts, Expenses, Costs of Administration and Death Taxes
 upon Grantor's Death.

       Upon the death of Grantor, the Trustee shall provide for payment out of the

 principal of the- trust property of all of (a) Grantor's legally enforceable debts, (b) the

 expenses of the Grantor's last illness and funeral and of the administration of assets

 included in Grantor's estate for federal estate tax purposes, and (c)the estate,

 inheritance, succession and othervdeath taxes, including interest and penalties imposed

 under the laws of any jurisdiction by reason of Grantor's death on or with respect to any

 property or the transfer or receipt of any property passing or which has passed under or

 outside this instrument or any amendment hereto, whether through Grantor's probate

 estate or by operation of law or any other form of transfer. All payments of Grantor's

 debts, expenses of last illness, funeral and administration expenses pursuant to the

 above provisions of this paragraph shall be charged against the principal of the trust

 property without apportionment or proration including taxes.

ARTICLE 5
Execution

       DONNA H. HICKS, as the Grantor, hereby appoints Karen L. Hicks, as

Successor Trustee and James L. Hair as First Successor Trustee, to hold in trust the

property transferred to this Living Trust for the use and benefit of the Grantor and other

Beneficiaries designated herein.     Reference in this Trust to the "Trustee" shall be

deemed to be a reference to whoever is serving as the original Trustee, alternate

Trustee, successor Trustee, or Co-Trustees.
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        B.      Upon the death of the Grantor, the Trustee shall accept any devises from

                the Grantor's estate and from any source and:

                (1)    Pay any and all funeral and burial costs for the Grantor, any

                       obligations owed by the Grantor at the time of death, any costs for

                       the administration of the Grantor's estate preparing and filing of

                       income and estate tax returns and any income, estate, inheritance

                       or other taxes so required.

                (2)    Distribute the remaining Trust assets to my daughter, Karen L.

                       Hicks.

                (3)    Notwithstanding the foregoing provisions, the Trustee shall

                       distribute such of the Grantor's tangible personal property as

                       indicating in any separate writing or list which is signed by the

                       Grantor and which may be in existence at the time of the Grantor's

                       death. If no separate writing is found and identified by the Trustee

                       within thirty days of the death of the Grantor, it shall be presumed

                       that there is none and any subsequentiy discovered writing shall be

                       ignored.                                 .

 ARTICLES
 Distribution o f Trust Assets

       A. If, in the sole discretion of the Trustee any Beneficiary^shaUJ

             or incapacitated at
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 receiving such distribution shall be a full acquittance and discharge of any further Trust

 duty.

 ARTICLE 18
 Rule Against Perpetuities

         All other provisions of the Will or of the Trust notwithstanding, no trust created

 hereby shall continue for more then 21 years after the death of the last to die of the

 Grantor and the Beneficiaries in being at the date of executions of this Trust Agreement.

Any property still held in trust at the expiration of that period shall immediately be

distributed to the persons then entitled to receive or have the benefit of the income

therefrom in the proportions in which they are entitled thereto, or if their interest are

 indefinite, then in equal shares.

ARTICLE 19
Florida Law

         This Living Trust shall be construed, regulated, and administered in all respects

according to the laws of the State of Florida.

      IN WITNESS WHEREOF the Grantor has executed this REVOCABLE INTER
VIVOS TRUST AGREEMENT OF DONNA H. HICKS in duplicate on the day, month,
and year above written.



                                                 Grantor

IN THE PRESENCE OF




                                                 Witness
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STATE OF FLORIDA
COUNTY OF PINELLAS

       WE, the undersigned witnesses and the Grantor, whose names are signed to the
attached or foregoing instrument, were sWorn and declared to the undersigned officer
that Donna H Hicks signed the instrument in the presence of the witnesses as the First
Restatement of her Revocable Inter Vivos Trust Agreement and that each of the
witnesses, in the presence of Donna H. Hicks and in the presence of each other, signed
the Restatement as a witness.


Sign
      Grantor
   • Personally known to Notary, or
   a<_l^roduced Identification




 y                  Witness
0Personally Known to Notary, or
•Produced Identification

Sign /07W<.      ' /kJi

Print
                    Witness
•Personally known to Notary, or
•Produced Identification

       SWORN TO AND SUBSCRIBED before me on this 30^'' day of December, 2002,
by the Grantor and witnesses, whose names are signed and pi^inted above, all of whom
personally appeared before me, all of whom are personally known to me or who have
produced identification, as indicated above.



NOTARY PUBLIC, State of Florida
My Commission No.:                            rHinnvcf.
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       2804 45th Street South
       St. Petersburg, Florida 33711
       727 345-5541
       July 26, 2010



       Wells Fargo Home Mortgage
       Post Office Box 14411
       Des Moines, Iowa 50306

             In re: Estate of Donna H. Hicks
             Loan Number: 0035539972

       Dear Sirs;

             This is to advise that your company has wrongly and illegally
       debited my checking account for the above referenced mortgage payment
       on July 15, 2010. I have never authorized you to withdraw any monies
       from my account through Wachovia 1010         0753. Therefore, this is to
       demand that you immediately forthwith return all monies taken from my
       account in the sum of $1615.92 plus interest and cease any automatic
       draw from this or any account I may have.

             My correct address is listed above.

              Thank you for your kind cooperation and assistance in the handling
       of this matter.

             Very truly yours,


             Karen L. Hicks,
             Trustee of that Inter Vivos Trust for Donna H. Hicks



                                        EXHIBIT
                 Case 8:15-cv-00454-MSS-TBM
                            Return Mail Operations Document 1 Filed 03/02/15 Page 35 of
                                                                             Monthly    48 PageID
                                                                                     Mortgage     35
                                                                                              Statement
                            POBox 14411
                                    Des Moines, lA 50306-3411                                                                                                           07/15/10
                                                                                                                                            statement Date
                                                                                                                                            Loan Number                 0035539972

                                                                                                                                            Customer Service
                                                                                                                                            H S Online
                                                                                                                                            yourwellsfargomortgage.com
                                                                                                                                                  Fax                   TbT Telephone
                                                                                                                                            (866)278-1179               (866) 234-8271
                                                                                                                                            Correspondence              Hours of Operation
          1 AT            2422/178422/002422 518 01 ACNJF7 708                                                                              PC Box 10335                Mon-Fri,6AM- 10 PM
                                                                                                                                            Des Moines lA 50306         Sat, 8 AM - 2 PM CT
          ESTATE OF DONNA H HICKS
          6746 9TH AVE NORTH                                                                                                                      Payments
          ST PETERSBURG FL 33710-6140                                                                                                       PO Box 660455               TTY Deaf/Hard of Hearing
                                                                                                                                            Dallas TX 75266             (800) 934-9998
                                                                                                                                            Purchase o r Refinance (800) 443-3429

                                                                                                                                            Important Messages
                                                                                                                                            DISASTER PREPARATION
Summary                                                                            Property Address                                         Our disaster assistance line is here
Payment (Principal and/or Interest, Escrow)                     $1,615.92          5815 BALI WAY N                                          to help if you are ever affected by a
Optional Product(s)                                                 $0.00          ST PETERSBURG BEA FL 33706                               disaster such as a fire, flood, or storm.
                                                                                   Unpaid Principal Balance $73,124.98                      If needed, a dedicated disaster
Current Monthly Payment                                         $1,615.92
                                                                                   (Contact Customer Service for your payoff balance)
                                                                                                                                            representative is available at
Overdue Payments                                                        $0.00                                                               (888) 818-9147.
                                                                                   Interest Rate                            5.875%
Unpaid Late Charge(s)                                                   $0.00      Interest Paid Year-to-Date             $2,522.59
Other Charges                                                           $0.00      Taxes Paid Year-to-Date                    $0.00         This is not a bill. This mortgage statement
                                                                                                                          $6,505.19         reflects drafted payment application(s). Please
                                                                                   Escrow Balance
TOTAL PAYMENT                                                   $1,615.92                                                                   disregard the payment coupon unless you are
                                                                                                                                            making additional principal or escrow
                                                                                                                                            payments. If you are paying off your loan,
Activity Since Your Last Statement                                                                                                          please remember to cancel your draft at least
                                                                                        Late                                                five (5) days prior to your next draft date.
Date    Description                  Total      Principal             Interest  Escrow Charge                                    Other
07-PAYMENT                       $1,615.92        $121.78             $358.60 $1,135.54
                                                                                                                                            NEW ONLINE AGREEMENT
        PAYMENT                  $1,615.92        $121.18             $359.20 $1,135.54                                                     We've updated our Online Access Agreement.
05/20   HAZARD INS PMT            $990.00-                                       $990.00-    FIDELITY NATL INS                              To see what has changed, visit
05/17   PAYMENT                                                                                                                             wellsfargo.com/oniineupdates.
                                 $1,615.92        $120.59             $359.79 $1,135.54

                                                                                                                                            THE COMFORTS OF HOME
                                                                                                                                            W e know how important your home is to you.
                                                                                                                                            Since 1852, Wells Fargo has been helping
                                                                                                                                            people reach their personal and financial
                                                                                                                                            goals. Today, we appreciate the opportunity to
                                                                                                                                            help you enjoy the rewards of homeownership.


                                                                                                                                                         178422/002422 ACNJF7 2422 ETM1CQ23




WELLS HOME                                                                                                                   Monthly Payment
                                Loan Number                                           0035539972
F!AEGO MOETGAGE                                                                                                                     X pmt amt


                                                                                                                                        •Additional b    $
                                                                                                                                         Principal
        Check here and see
        reverse for address     ESTATE OF DONNA H HICKS                                                      Please specify
        correction.                                                                                                                         Late c       $
                                                                                                           additional funds.
                                                                                                                                         Charges
                               2422/178422/002422 518 01 ACNJF7 708                                          Any additional
                                                                                                                  funds not
                                                                                                           specified will be
                                                                                                             applied first to              Other D       $
                                                                                                           any outstanding               Charges
                                                                                                                   cliarges.
           WELLS FARGO HOME MORTGAGE
           PO BOX 660455                                                                                                                Additional ^     ^
           DALLAS TX 75266-0455                                                                                                           Escrow


                                                                                                           Total Amount Enclosed
          THIS IS NOT A BILL, BUT FOR YOUR INFORMATION ONLY.                                               (Please do not send cash)



                 70fl 0D35S3T^7E fl IDODDlblS^EDlbBT^MDlblS^EDDDOODD DQDDDD00SQ01Dmi775 1
Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 36 of 48 PageID 36




         S E N D E R : COMPLETE THIS SECTION                         COMPLETE THIS SECTION ON DELIVERY

         J i    Complete items 1, 2, and 3. Also complete            A. Sian^re
              item 4 if Restricted Delivery is desired.
           • Print your name and address o n the reverse
              so that w e can return the card t o you.               B. Received by (Printed Name)         C. Date of Delivery
        • • . Attach this card t o the back of the mailpiece.
              or on the front if space permits.                                                    a m.      2 § 2oiu
                                                                     D. Is delivery address different from item 1 ? • Yes
          1. Article Addressed to:                                      If YES, enter delivery address below:       D No



                  Wells Fargo Home Mortgage
               i" 1Post
                      / LOffice
                    VmO   N-/ I 1 1 Box
                                    WW —1^14411
                                           w/V I i 1 1 1                  L
                                                                     3. Service Type
                  Des Moines, Iowa 503nR                                ^ Certified Mail       Express Mail
                                                                        • Registered       59. Return Receipt for Merchandisi
                                                                        • Insured Mail     • C.O.D.
                                                                     4. Restricted Delivery? (Extra Fee)          •   Yes

          2. ArticleNumber                                              „
             (Transfer from service label)               7DD^ jLHILD DDDli 3SDfci 55flfl
          PS Form 3 8 1 1 , February 2004              Dom'esticiBetum Receipt                                102595-02-M^-15'
       Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 37 of 48 PageID 37
WELLS FARGO HOME MORTGAGE
RETURN MAIL SERVICES                                                                              WlLlJ.S
PO BOX 10368                                                                                      KAHGO
DES MOINES lA 50306-0368



01/03/14                                                                             Account Information
                                                                       Online:              yourwellsfargomortgage.com
                                                                       Fax:                 1-866-278-1179
                                                                       Telephone:           1-866-234-8271
II                                                                     Correspondence;      PO Box 10335
1AB           00979/017761/001907 0068 3 ACR3QWDF047 708                                    Des Moines, lA 50306

DONNA H HICKS DECEASED                                                 Hours of operation: Mon - Thurs, 7 a.m. - 9 p.m.,
9311 BLIND PASS RD                                                                         Fri, 7 a.m. - 8 p.m.,
ST PETE BEACH, FL 33706-1357                                                               Sat, 8 a.m. - 4 p.m., CT

                                                                       Loan number:         0035539972
                                                                       Property address;    5815 Bali Way N
                                                                                            St Petersburg Sea FL 33706




Subject: Discontinue phone contact

Dear Donna H Hicks Deceased:

Thank you for your recent call. During our conversation, you asked that Wells Fargo Home Mortgage
discontinue all future contact by telephone. To honor your request means we will not contact you in the
future when new options are available to you for your loan.

W e are happy to fulfill your request to discontinue telephone contact with you, and to do so w e need
you to review and sign the brief statement at the bottom of this letter and return it to the address listed
in the account information section of this letter. W e will keep your signed notice on record with your
loan information. Once w e receive your signed statement, we will discontinue contact with you via
telephone; however, you will continue to receive monthly statements and any letters required by law. If
w e do not receive your signed request, you will continue to receive telephone communication.

If you have any questions or need further assistance, please contact us at the phone number listed in
the account information box at the top of this letter.

Home Preservation Department
Wells Fargo Home Mortgage


Struggling with other expenses? Help is available.
Sometimes customers have trouble keeping up with their monthly expenses, other than their mortgage
payments. If this is happening to you, help is available at no cost from a HUD-approved, non-profit
credit counseling agency. Simply call a counselor who will work closely with you to lower your other
monthly payments, take your financial circumstances into consideration, and create a budget plan to
work for you. To find an agency in your neighborhood, call 1-800-569-4287 or call the HOPE Hotline at
1-888-995-HOPE.

Be sure you avoid anyone who asks for a fee for counseling or a loan modification, or asks you to sign
over the deed to your home, or to make your mortgage payments to anyone other than Wells Fargo




                                                                                                  EXHIBIT
 VVFM307C

 DF047 708
 017761/001907 ACR3QW S1-ET-M1-C005
                                                  7080035539972DF047
                                                                                                   c
      Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 38 of 48 PageID 38
                                                                         Account Information
                                                          Loan number:      0035539972

                                                          Property address: 5815 Bali Way N
                                                                            St Petersburg Bea FL 33706




Home Mortgage.




                                     7080035539972DF047
DF047 708
017761/001908 ACR3QW S1-ET-M1-C005
      Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 39 of 48 PageID 39


I/we, Donna H Hicks Deceased, hereby request that any further telephone contact from Wells Fargo
Home Mortgage be discontinued. I understand that I will continue to receive any legally required notices
and correspondence required for Wells Fargo Home Mortgage to continue servicing my loan.

Signed:                                                                   Date
       Donna H Hicks Deceased (Required)                                         (Required)

Signed:                                                                   Date
            (Required if applicable)                   (Required)


Loan Number 0035539972




                                         7080035539972DF047
DF047 708
017761/001909 ACR3QW S1-ET-M1-C005
Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 40 of 48 PageID 40



  IN THE SIXTH JUDICIAL CIRCUIT COURT IN AND FOR PINELLAS COUNTY,
                              FLORIDA

                        Case Number: 13-00225-CI Division 15

WELLS FARGO BANK, N.A.

       Plaintiffs,

Vs.

KAREN L. HICKS,
unknown spouse of Karen L. Hicks,
unknown beneficiaries, heirs,
and devisees of the Estate of D o n n a
H. Hicks a / k / a DONNA HAIR HICKS,
DECEASED; and any a n d all unknown
Parties claiming by through under and          Uniform Case # 52201CA00225XXC1C1
Against t h e herein n a m e individual
Defendant who are n o t known to b e
dead or alive whether said unknown
Parties may claim a n interest a s spouse,
heirs devisees, grantees or other claimants
Unknown Tenant # 1 , Unknown Tenant # 2
Unknown Tenant # 3 , unknown Tenant #4,
that n a m e being fictitious to account for
Parties i n possession.

       Defendant(s).

                                                     /

                          EMERGENCY MOTION TO COMPEL

                            PLAINTIFF TO PROVIDE PAYOFF

        Comes now, Defendant, Karen L. Hicks, pro se, hereby moves this
Honorable Court p u r s u a n t t o Fla. R. Civ. P. 1. 380), respectively t o Compel
Plaintiff, Wells Fargo t o a c t i n good faith a n d provide a complete itemized
statement for payoff of t h e Mortgage which is t h e subject of this foreclosure
a n d alleges a s follows:

       1.         The Defendant h a s attempted to sell t h e property several times
                  i n t h e p a s t several years. On two occasions. Plaintiff h a s failed
                  t o provide payoff figures in order for Defendant, Karen L. Hicks
                  t o satisfy t h e subject mortgage.



                                                 EXHIBIT
Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 41 of 48 PageID 41



     2.      D u e t o t h e Plaintiffs b a d faith actions, t h e Defendant h a s b e e n
             u n a b l e t o satisfy said mortgage.

     3.      The Plaintiff alleges it owns t h e Note a n d t h e Mortgage by virtue
             of a n assignment to b e recorded.

    4.       The Plaintiff claims Defendants a r e i n default u n d e r t h e t e r m s of
             t h e Note a n d Mortgage b u t r e f u s e s t o provide necessaiy figures
             t o satisfy t h e subject mortgage.

     5.      Defendant, Karen L. Hicks h a s secured a buyer through h e r
             Realtor, Don Taylor a n d h a s been attempting to close o n t h e
             property.

    6.       Defendant, Karen L. Hicks personally, a n d Defendant's Title
             I n s u r a n c e Company, h a s called, emailed a n d otherwise
             attempted to communicate directly with Wells Fargo mortgage
             department. At all times heretofore, t h e Plaintiff h a s failed
             refused a n d neglected t o attempt a n y form of communication
             with t h e Title Insurance Company t o facilitate said sale.

    7.      Defendant, Karen L. Hicks personally a n d Defendant's Title
            I n s u r a n c e Company, h a s called, emailed a n d otherwise written
            communicated t o Counsel, Aldridge a n d Connors, Attorneys a t
            Law, a n d requested a payoff figure. Plaintiffs Counsel h a s failed
            refused a n d neglected t o r e t u r n calls o r communication i n a n y
            fashion.

    8.      O n or a b o u t Friday, J a n u a r y 2, 2015, (one day prior t o
            scheduled closing) Defendant, Karen L. Hicks contacted
            telephonically, Aldridge a n d Connors a t 4:20p.m. a n d spoke
            with Tiffany. A message w a s left with "Tiffany" wherein s h e
            advised t h a t Defendant, Karen L. Hicks would file a n Emergency
            Motion t o Compel o n Monday should Defendant, Karen L. Hicks
            or h e r agent n o t receive said proper payoff itemization a n d
            figures promptly.

    9.      Plaintiff a n d Plaintiffs Counsel h a s n o t acted in good faith a n d
            continues t o refuse to provide t h e information necessaiy t o
            resolve t h e litigation herein.
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       10.       Defendant, Karen L. Hicks will suffer severe damages if Plaintiff,
                 Wells Fargo fails to provide a n d cooperate in t h e sale of t h e
                 subject property by J a n u a r y 6, 2015.

       11.       Defendant, Karen L. Hicks h a s a n d continues to incur expenses,
                 including b u t n o t limited t o interest, taxes, insurance a n d
                 attorney's fees which a r e unnecessary a n d beneficial only t o
                 Plaintiff by its failure t o comply with payoff information.

        WHEREFORE, Defendant, Karen L. Hicks, respectfully request t h e
Honorable Court t o Compel Plaintiff, Wells Fargo a n d / o r i t s Counsel t o provide
t h e necessary information necessary a n d incident to t h e sale a n d closing of t h i s
property i n order to resolve t h e litigation herein, award attorney's fees a n d
costs i n defense of t h i s action, a n d a n y other relief deemed j u s t a n d equitable
t h e premises.

                             CERTIFICATE OF SERVICE

         I DO HEREBY CERTIFY t h a t a copy of t h e foregoing h a s been f u r n i s h e d
by United States Mail t o Aldridge Connors, LLP, Attorney's for Plaintiff(s), 7 0 0 0
West Palmetto Park Road. Suite 307, Boca Raton, Florida, 3 3 4 3 3 t h i s 2^^^ day
of J a n u a r y , 2015.




                                          Karen L. Hicks, Defendant
                                          9 3 1 1 Blind Pass Road
                                          S t . Petersburg Beach, Florida 3 3 7 0 6
                                          (727) 3 4 5 - 5 5 4 1
            Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 43 of 48 PageID 43

Karen Hicks

 Tom:                                         FLPayoffReinstatement <FLPayoffReinstatement@aclawlip.com>
Sent:                                         Monday, January 05, 2015 2:53 PM
To:                                           ' Do.doc@verizon.net'
Cc:                                           Russell Blenk
Subject:                                      Payoff Quote (Good Through 1/15/15)
Attachments:                                  0035539972 PO.pdf



Please find the requested document(s) for the following;

Borrower: Hicks, Donna

Loan#: 0035539972

Property Address: 5815 BALI WAY S, ST PETERSBURCH BEACH, FL 33706




Bryan Weekes
Operations Support
Fifteen Piedmont Center
3575 Piedmont Road, N.E.
Suite 500
\tlanta, Ga 30305
Phone: 404-994-7398
Email: bweekes@aclawllp.com




PLEASE BE ADVISED THAT THIS COMMUNICATION MAY CONSTITUTE A N ATTEMPT TO COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE
USED FOR THAT PURPOSE.

This e-mail and any attachments contain information from the law firm of Aldridge Connors, LLP and are intended solely for the use of the named recipient(s). This
e-mail may contain privileged attorney-client communications or work product. Any dissemination of this e-mail or its attachments by anyone other than an
intended recipient is strictly prohibited. If you are not a named recipient, you are prohibited from any further viewing of the e-mail or its attachments or from making
any use of same. If you believe you have received this e-mail in error, please notify the sender by replying to this email or calling the sender at (404) 994-7400 and
delete the e-mail from any drives or storage media and destroy ariy print out.(s) of this e-mail or its attachments.




                                                                               EXHIBIT
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                                                                                    A f - D l\ i i) (,! f',         Ci)      In 0 K /)
                                                                                                                                  i.ij'
  January 5,2015


  Karen L. Hicks
  Do. doc@verizon.net

  Re; Payoff Quote

           Loan Number:               0035539972
           Mortgagor(s):              Donna H Hicks
           Property Address: 5815 BALI WAY S, ST PETERSBURCH BEACH, FL 33706
           Attorney/Trustee File No.: 1113-747613B
           Due Date:                  7/1/2010

  PLEASE BE ADVISED THAT TfflS LAW FIRM MAY BE ACTING AS A DEBT
  COLLECTOR AND ANY INFORMATION OBTAINED DURING OR AS A
  RESULT OF TfflS COMMUNICATION MAY BE USED FOR THAT PURPOSE

  However, if you are in bankruptcy or have been discharged in bankruptcy, this letter is
  for informational purposes only and is not intended as an attempt to collect a debt or as
  an act to collect, assess, or recover all or any portion of the debt from you personally.

  Dear Karen L. Hicks:

  This letter responds to your request for a payoff of the above referenced loan.

  As of the date of this letter, the amount required to payoff your loan is $203,797.17,
  However, if you are not prepared to tender the full payoff amount today, then the amount
  you owe may increase between the date of this letter and the date you pay off the loan.
  The payoff amount may increase because of additional interest and late charges as well as
  legal fees and costs that are incurred as additional steps in the foreclosure proceed.

  This payoff is good through 1/15/2015, the "Good Through Date." If you pay this loan in
  full by the Good Through Date, we estimate the payoff amount to be itemized as follows:




   1615 South Congress Avenue • Suite 200 • Delray Beach, Florida 33445 • Phone (561) 392-6391 • Facsiinila (561) 392-6965
Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 45 of 48 PageID 45
                                                                                   A I . r> R1 D i". F ' C 0 I\i N C) R
                                                                                                               '            I
  Description                                                                                          Amount

  Principal Balance                                                                                     $    73,246.76
  Accrued Interest to       1/15/2015                                                                   $    19,888.06
  $ 11.79 per Jzem interest thereafter                                                                  $
  Late Charges                                                                                          $          264.22
  Escrow Balance                                                                                        $   103,791.07
  Other Fees Due                                                                                        $           30.00
  Recoverable Balance                                                                                   $      6,152.06
  Attorney/Trustee Foreclosure Fees                                                                     $          425.00




  Less positive balance on your account                                                                             $o.oo




  TOTAL ESTIMATED PAYOFF* THROUGH 1/15/2015 is:                                                         $   203,797.17




  The payoff figures listed above include items that have been paid by the lender or
  servicer or incurred by Aldridge 1 Connors, LLP that are currently due by the Good
  Through Date. Please understand that the above figures are subject to final verification
  upon receipt by the lender or servicer. All fees and costs incurred after the issuance of
  this payoff letter will continue to be assessed until the loan is paid in full

  * IMPORTANT: We only require that you pay the fees and costs actually incurred as of
  the date of your payment. If for whatever reason your payment includes any anticipated
  fee or cost or other item but the actual amount due on the date of payment is less, any
  excess amount will be promptly returned to you. If your payoff amount tendered is less
  than the total amount due on the date of your payment, the lender or servicer reserves the
  right to reject your payment and continue with the legal process.


  WE SUGGEST THAT YOU CONTACT ALDRIDGE | CONNORS, LLP AT THE
  ADDRESS OR TELEPHONE NUMBER ON THIS LETTER TO VERIFY THE
  EXACT AMOUNT NECESSARY TO PAYOFF YOUR LOAN NO MORE THAN 24
  HOURS BEFORE YOU MAKE ANY PAYMENT.

  PAYMENT INSTRUCTIONS. Payment must be submitted in the form of a CERTIFIED
  CASHIER'S CHECKrS^ AND/OR MONEY ORDERfS) AND MUST BE MADE
  PAYABLE TO WELLS FARGO BANK. N.A.. WIRE TRANSFER FUNDS TO:


   1615 South Congress Avenue • Suite 200 • Delray Beach, Florida 33445 • Phone (561) 392-6391 • Facsimile (561) 392-6965
Case 8:15-cv-00454-MSS-TBM Document 1 Filed 03/02/15 Page 46 of 48 PageID 46

                                                              ai-.L>K!D(,R ' C O N N O R S
                                                                                   '         1, p
  BB&T; ACCOUNT NAME: ALDRIDGE CONNORS, LLP FLORIDA lOLTA;
  ABA NO. 061113415, BENEFICIARY ACCOUNT NO. 0005245278057 ATTN:
  ALDRIDGE CONNORS, LLP, CLIENT SERVICES.                                INCLUDE THE
  FOLLOWING INFORMATION: LOAN #, ATTORNEY FILE #, PROPERTY
  ADDRESS. Funds must be sent to the attorney/trustee office listed on this letter. The
  payoff funds will be returned if any portion of the funds is in the form of a personal
  check. Please be advised that the action will continue until the total payoff received, in
  compliance with the terms in this letter. After payoff, you may be required to sign
  appropriate documents and take other requested action to assist in obtaining a withdrawal
  of the foreclosure.

  PLEASE CAREFULLY READ THE FOLLOWING INFORMATION CONCERNING
  THE FORECLOSURE.

  PLEASE NOTE: If there is a foreclosure sale date scheduled for your property, this letter
  does not extend or change that foreclosure sale date. Therefore, if the Good Through
  Date for the payment stated in this letter continues past the scheduled foreclosure sale
  date, the foreclosure sale will nonetheless occur unless the loan is reinstated or paid off
  prior to the foreclosure sale as required by applicable law.

  You should verify the loan number, the name(s) of the Mortgagor(s), the property address
  and the amounts due and owing to ensure that these items are correct. Should you have
  any questions regarding the above, please do not hesitate to contact the attorney or
  foreclosure trustee at the telephone in this letter.


           Sincerely,



           ALDRIDGE | CONNORS, LLP




   1615 South Congress Avenue • Suite 200 • Delray Beach, Florida 33445 • Phone (561) 392-6391 • Facsimile (561) 392-6965
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  IN THE SIXTH JUDICIAL CIRCUIT COURT IN AND FOR PINELLAS COUNTY,
                              FLORIDA

                        Case Number; 13-00225-CI Division 15

WELLS FARGO BANK, N.A.

       Plaintiffs,

Vs.

KAREN L. HICKS,
unknown spouse of Karen L. Hicks,
unknown beneficiaries, heirs,
and devisees of t h e Estate of Donna
H. Hicks a / k / a DONNA HAIR HICKS,
DECEASED; and a n y a n d all unknown
Parties claiming by through under and          Uniform Case # 52201CA00225XXC1C1
Against t h e herein n a m e individual
Defendant w h o are not known to be
dead or alive whether said unknown
Parties m a y claim a n interest a s spouse,
heirs devisees, grantees or other claimants
Unknown Tenant # 1 , Unknown Tenant # 2
Unknown Tenant # 3 , unknown Tenant # 4 ,
that n a m e being fictitious to account for
Parties i n possession.

       Defendant(s).

                                                     ./

MOTION FOR DETAILED ACCOUNTING OF PAYOFF FIGURE AND MOTION
              FOR HEARING ON ATTORNEY'S FEES

      Comes now, Defendant, Karen L. Hicks, pro se, hereby moves t h i s
Honorable Court for a Detailed Accounting of Figures for Payoff a n d for a
Hearing to Determine Reasonableness of Attorney's fees a n d says a s follows:

       1.         The Defendant h a s attempted t o communicate with Plaintiffs
                  Counsel quite literally for years.

       2.         Plaintiffs counsel h a s failed, refused a n d neglected
                  communication in order to resolve t h e herein foreclosure.

       3.         Due t o Plaintiffs refusal. Defendant, Karen L. Hicks incurred
                  excessive fees a n d forced placed insurance.


                                                 EXHIBIT
                                          \p
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      4.        Defendant, Karen L. Hicks, requests t h i s Honorable Court s e t a
                hearing t o determine t h e reasonable attorney's fees to which
                Defendant h a s been forced to pay in a n undisclosed, n o n -
                itemized a n d m u c h delinquently provided payoff figure.
                Defendant, Karen L. Hicks, continues to receive monthly
                statements addressed t o h e r deceased m o t h e r (now deceased
                since J u n e 17, 2008) which clearly a r e inconsistent with
                minimal payoff statement. A copy of t h e December, 2 0 1 4
                statement i s attached hereto a n d m a d e a p a r t hereof a n d
                marked Defendant's exhibit "A".

       5.       Plaintiffs counsel literally waited until t h e eleventh h o u r to
                provide payoff a s Defendant, Karen L. Hicks w a s forced t o file a
                Motion to Compel a n d drive to t h e Courthouse i n order to await
                t h e payoff figure. The deadline t o Well's Fargo counsel w a s 3:00
                p.m. o n J a n u a r y ^ , 2015. The email containing t h e payoff figure
                w a s received 2:5^p.m o n J a n u a r y 5, 2015. A copy of t h e "payoff
                email" i s attached hereto a n d made a p a r t hereof a n d marked
                Defendant's exhibit "B".

      6.        Plaintiffs b a d faith a n d lack of professional cooperation h a s
                c a u s e u n d u e a n d excess fees a n d costs t o Defendant, Karen L.
                Hicks.

      WHEREFORE, Defendant, Karen L. Hicks, respectfully request t h i s
Honorable Court for a n Order Directing Plaintiff, Wells Fargo a n d / o r its
Counsel t o provide t h e necessary detailed information a n d accounting of its
"payoff figures a n d for a Hearing t o Determine t h e Reasonableness of
Attorney's fees attached t o said payoff figures a n d a n y other relief a s t h e Court
deems necessary a n d j u s t .

                            CERTIFICATE OF SERVICE

         I DO HEREBY CERTIFY t h a t a copy of t h e foregoing h a s been furnished
by United States Mail to Aldridge Connors, LLP, Attorney's for Plaintiff(s), 7000
West Palmetto Park Road. Suite 307, Boca Raton, Florida, 3 3 4 3 3 t h i s 12"^ day
of J a n u a r y , 2015.


                               I Karen L. Hicks, Defendant
                                 9 3 1 1 Blind Pass Road
                                 S t . Petersburg Beach, Florida 3 3 7 0 6
                                 (727) 3 4 5 - 5 5 4 1
